   Case: 4:18-cv-01467-JAR Doc. #: 24 Filed: 01/08/19 Page: 1 of 1 PageID #: 67



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


UNITED STATES OF AMERICA,                        )
                                                 )
            Plaintiff,                           )
                                                 )
      vs.                                        )           Case No. 4:18-CV-01467-JAR
                                                 )
2016 LAMBORGHINI AVENTADOR                       )
VIN: ZHWUR1ZDXGLA04692, et al.,                  )
                                                 )
            Defendants.                          )
                                                 )

                                             ORDER

       This matter is before the Court on Plaintiff United States of America’s Second Motion to

Continue Rule 16 Conference. (Doc. 23.) Plaintiff represents that “the matter appears headed

toward resolution,” suggesting that “there is no need for a Rule 16 conference at this time.” (Id.)

       Accordingly,

       IT IS HEREBY ORDERED that Plaintiff United States of America’s Second Motion to

Continue Rule 16 Conference (Doc. 23), is GRANTED.

       IT IS FURTHER ORDERED that the parties shall submit a written status report to the

Court no later than April 9, 2019.

       Dated this 8th Day of January, 2019.




                                                 JOHN A. ROSS
                                                 UNITED STATES DISTRICT JUDGE
